Case 3:16-md-02738-MAS-RLS          Document 30842        Filed 04/02/24       Page 1 of 2 PageID:
                                         177848



                         UNITED STATES DISTRICT COURT FOR
                            THE DISTRICT OF NEW JERSEY


   IN RE JOHNSON & JOHNSON “BABY
   POWDER” and “SHOWER TO SHOWER”
   MARKETING, SALES PRACTICES AND
   PRODUCTS LIABILITY LITIGATION
                                                               MDL NO. 2738 (MAS) (RLS)
   THIS DOCUMENT RELATES TO:

   Gloria Mick vs. Johnson & Johnson, et al.
   Case No.: 3:24-cv-04286-MAS-RLS



                                     NOTICE OF FILING

         Notice is hereby given pursuant to Case Management Order No. 3 (Filing of Short Form

  Complaints) that a Short Form Complaint and Jury Demand has been filed on behalf of Plaintiff,

  Gloria Mick.

         This __2nd___ day of ___April_____, 2024.

                                                     Respectfully submitted,

                                                     ONDERLAW, LLC

                                               By:   /s/ Stephanie L. Rados
                                                     James G. Onder, #38049 MO
                                                     William W. Blair, #58196 MO
                                                     Stephanie L. Rados, #65117 MO
                                                     110 E. Lockwood, 2nd Floor
                                                     St. Louis, MO 63119
                                                     314-963-9000 telephone
                                                     314-963-1700 facsimile
                                                     onder@onderlaw.com
                                                     blair@onderlaw.com
                                                     rados@onderlaw.com
Case 3:16-md-02738-MAS-RLS           Document 30842        Filed 04/02/24     Page 2 of 2 PageID:
                                          177849



                                      Certificate of Service

        The undersigned hereby certifies that this document was filed and electronically served
  by way of the Court’s electronic filing system this __2nd___ day of ___April_____, 2024.


                                                     /s/ Stephanie L. Rados
